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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

PROPERTY OF THE PEOPLE, INC.,       )
                                    )
and                                 )
                                    )
RYAN NOAH SHAPIRO,                  )
                                    )
      Plaintiffs,                   )
                                    )
      v.                            )
                                    )
OFFICE OF MANAGEMENT                )               Civ. Action No. 1:17-cv-01677 (RC)
AND BUDGET,                         )
                                    )
and                                 )
                                    )
COUNCIL ON ENVIRONMENTAL            )
QUALITY,                            )
                                    )
      Defendants.                   )
____________________________________)

                 STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, by and

through their undersigned counsel, hereby agree and stipulate to the dismissal with

prejudice of the Council on Environmental Quality as a Defendant in this action, with each

side to bear its fees and costs.


Dated: October 19, 2017              Respectfully submitted,

                                     CHAD A. READLER
                                     Acting Assistant Attorney General

                                     ELIZABETH J. SHAPIRO
                                     Deputy Director, Federal Programs Branch

                                            /s/
                                     JOSEPH C. DUGAN
                                     Trial Attorney
                                     United States Department of Justice
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